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;Name: Josephine Guion

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Address: P.O. Box 85 Payette, Idaho 83661 S, cov
Cell Phone: (720) 206-7932 LL aye
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UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF IDAHO
Josephine Guion )
Plaintiff ) Case No. 2:18-cv-00186-DCN
Vv. )
Bonner Homeless Transitions ) PLAINTIFF’S AMENDED

Board of Directors(Formerly T.LP.S.); Mary Jo ) COMPLAINT AND JOINDER OF
Ambrosaini, individually, and in her official ) PARTIES

capacity as the Board of Directors President of )

the Bonner Homeless Transitions and the )

Bonner County Homeless Task Force; Joanne _)

Barlow, individually and in her official capacity )

as the Program Manager for the Bonner )

Hoineless Transitions and the Bonner County _)

Homeless Task Force; Bonnie Edgecomb and __)

Michelle Lang, Former T.I.P.S. Participants )

 

Comes Now, Plaintiff Josephine Guion in the above action, represented Pro Se, and
respectfully, was granted Leave to Amend her Original Complaint under Federal Rules of Civil
Procedure(F.R.C.P.) Rule 15(a)(2), and Joinder of Parties under F.R.C.P. Rule 20(2). Plaintiff
- .-has Joined-the following persons-as-Defendants-to-the-above-action:_Mary-Jo-Ambrosaini,
individually and in her official capacity, as the Board of Directors President, of the Bonner
Homeless Transitions(Formerly T.I.P.S.) and the Board of Directors President of the Bonner

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County Homeless Task force; Joanne Barlow, individually and in her official capacity as the
Program Manager of the Bonner Homeless Transitions(Formerly T.I.P.S. ), and the Program
Manager for the Bonner County Homeless Task Force; Bonnie Edgecombe and Michelle Lang,
Former T.LP.S. Participants. Respectfully, under Federal Rules of Evidence Rule 401(a)(b),
Rule 402, Rule 901(a)(b(1)(3)(4)), Rule 1001(a)(d)(e), Rule 1003, Rule 1007, Plaintiff has
attached the following documents of evidence as reference, that will help in the explaining and in
support of Plaintiff's Claims in the Amended Complaint to the Court, documents which Defense
Counsel already has in their possession through Discovery the complete copies of: (1)
PLAINTIFF’S EXHIBIT # 1-“TIMELINE OF EVENTS”; (2) PLAINTIFF’S EXHIBIT # 2-
“DOCUMENTED ENTRIES”; (2) PLAINTIFF’S EXHIBIT # 34-RESPONDENT’S FIRST
RESPONSE TO THE I.HLR.C.; (3) THE I.H.R.C. SUMMARY OF INVESTIGATION-
DECISION DOCUMENT; (4) DEFENDANT’S COPY TIPS000005-thru-TIPS000011
“Overview of Complaints and Resolutions in File” documents; DEFENDANT’S COPY TIPS

Documents, from Discovery, as listed throughout Plaintiff's Claims in the Amended Complaint.

 
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HOUSING DISCRIMINATION

COUNT I: RACE AND HOSTILE HOUSING ENVIRONMENT

1. I state a claim respectfully, that I am suing under 42 U.S.C § 3613(a(1)(A)(B)(2))(6(1) (2)
(c(1)) of the Fair Housing Act; under 42 U.S.C. § 1981(a)(b), 42 U.S.C. § 1982, 42 U.S.C. §
2000d et seq, 42 U.S.C. § 1985(3) and 42 U.S.C. § 1986 of the Civil Rights Act; Requesting a
jury trial against Defendant Board of Directors of the Bonner Homeless Transitions(Formerly
Transitions In Progress Services( T.I.P.S.)) Transitional Housing Program, Defendant Mary Jo
Ambrosaini, individually and in her official capacity, as the Board of Directors President of the
Bonner Homeless Transitions(Formerly T.LP.S.), and as the Board of Directors President of the
Bonner County Homeless Task Force, Defendant Joanne Barlow, individually and in her official
capacity, as the Program Manager for the Bonner Homeless Transitions(Formerly T.LP.S.), and
as the Program Manager for the Bonner County Homeless Task Force, Defendants and Former
Bonner Homeless Transitions(T.LP.S.) Participants Bonnie Edgecomb and Michelle Lang, under
24 C.E.R. § 100.7(a)(i)(ii)(iii)(b), 42 U.S.C. § 1985(3), 42 U.S.C. § 1986; For Race and Hostile
Housing Environment Discrimination by Defendant’s Board of Directors, Board of Directors
President Ambrosaini, Program Manager Barlow, Bonnie Edgecomb and Michelle Lang; For
violations of my Civil Rights under 42 U.S.C. § 1981(a)(b), 42 U.S.C. § 1982, 42 U.S.C. §
2000d et seq, and 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, of the Civil Rights Act; under 42
U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24 C.F.R. § 100.400(a)(b0(c)(2)(4-6)), 24 C.F.R.
100.600(2)(i)(A)(B)(C)(ii)(c), of the Fair Housing Act; and Defamation under 28 U.S.C. §
4101(1)(2); For conspiracy to deceive, defame, discredit, vilify character, retaliate, and conceal
knowledge of my allegations of race and housing discrimination complaints against Defendant’s
Program Manager Barlow, Bonnie Edgecomb and Michelle Lang; Based on Race: Black/African
American.

In support of the above stated claim, I offer the following facts, with attached supporting
documents of evidence under FRCP Rule 9(b)-Fraud, under Federal Rules Of Evidence(FRE)
Rule 401(a)(b), Rule 402, Rule 901(a)(b), Rule 1001(a)(c)(d)(e), Rule 1002, Rule 1003, Rule

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1004(a)(b)(c), and Rule 1007:

2. I state a claim that I became a participant in Defendant Board of Directors Bonner Homeless
Transitions(Formerly Transitions In Progress Services(T.I.P.S.)), two-year T.LP.S. Transitional
Housing Program on 08July2013, where I resided at Holland House, on the T.LP.S. Trestle
Creek Community/Holland House property, in Hope, ID. In January2014, I sustained workplace
injuries, and that one of the injuries later became a diagnosed permanent physical disability in
March2014. That status later changed to an official permanent physical disability, after my
application for SSD and SSI Disability Benefits was approved in** _2014**. I began receiving
temporary SSI Disability Benefits income payments in September/October2014. I began
receiving the monthly SSD Benefits income payments in October/November2014, and I
continued receiving monthly SSD Benefits income payments, throughout the remaining months
of my participation in the T.L.P.S. Transitional Housing Program.

3. I state a claim, under FRCP Rule 9(b)-Fraud, 42 U.S.C. § 3604(b), 42 U.S.C. §
3617(Including 24 C.F.R. § 100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. § 100.600(2)(i)(A)(B)(C)(Gi(c),
42 U.S.C. § 2000d et seq, 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 1982, 28 U.S.C. §
4101(1)(2): (1) Lalleged that after Defendant Joanne Barlow, in her individual and official
capacity was hired as the new Program Manager at the Trestle Creek Community/Holland House
property, located in Hope, ID, she conspired to violate my civil rights because of my race, from
the moment she met me for the first time, orchestrated a campaign through conspiracy, that was
meant to deceive, discredit, defame, and vilify my character, retaliate, while violating my civil
rights, trying to force me out of the T.LP.S. Transitional Housing Program, because of my race;
(2) I alleged that Defendant Program Manager Barlow, committed a fraudulent act, when she
allegedly created DEFENDANT’S COPY TIPS000005-thru-TIPS000011 documents called the
“Overview of Complaints and Resolutions in File” documents, and is the point of origin for

much of the intentional false statements created allegedly by Defendant Program Manager
Barlow, primarily for the purpose to deceive, discredit, retaliate, vilify character, and conceal
knowledge of my allegations of race and housing discrimination against Defendant’s Program

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Manager Barlow, Bonnie Edgecomb and Michelle Lang; (3) Referring to TIPSO00005
document page, I alleged that Defendant Program Manager Barlow, committed a fraudulent act,
by creating the first 10/01/13 and Resolution entries, that is earliest known intentional false
statement made by Defendant Program; (4) I alleged that Defendant Program Manager Barlow,
intentionally used information from a complaint document that I submitted to former Program
Manager Lissa DeFrietas, dated 30September2013, and created the false 10/01/13 entry
statement, that is meant to deceive and conceal my actual words as stated in my complaint
document-DEFENDANT’S COPY TIPS000012 and TIPS000013. Located on page 2, which is
DEFENDANT’S COPY TIPS000013 page, second paragraph, lines 3 and 4 are my actual
typewritten words, that contradict the alleged false statement by Defendant Program Manager
Barlow; (5) I alleged that the Resolution entry, is also meant to deceive and conceal the actual
resolution of the complaint by Defendant’s Program Manager Barlow’s predecessor Program
Manager Lissa DeFrietas, who resolved the situation by changing the laundry schedule of
resident Gina to another day, and took away the laundry privileges of another resident(Heather)
use of the laundry facilities at the Trestle Creek Community/Holland House property.

4. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617, 42 U.S.C. § 1985(3), 42 U.S.C. §
1986, 42 U.S.C. § 1982, and 42 U.S.C. § 2000d et seq, alleging that in October2013, my civil
rights were violated because of my race by Case Manager Gina Graham, the interim T.I.-P.S
Program Manager at the Trestle Creek Community/Holland House property. When Case
Manager Gina Graham, met me for the first time, she asked me why I was living in North Idaho,
and if I would be more comfortable with other African Americans living in the Spokane area.

5. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24 C.F.R. §
100.400(a)(b)(c)(2)(4-6)), 42 US.C. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 1982, and 2000d
et seq, alleging that in late October / early November2013, my civil rights were violated because
of my race-by Defendant Joanne Barlow, in her individual and official capacity, as the new
Program Manager at the T.LP.S. Trestle Creek Community/Holland House property, allegedly,
when she tried to coerce me into leaving the T.I.P.S. Transitional Housing Program, because I

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was being oppressed by white people. When Defendant Program Manager Barlow met me for
the first time, she asked “Why are you, an African American doing in North Idaho?” “Don’t you
feel oppressed by how white people treat you?” “Don’t’ you feel oppressed living in North
Idaho?” “I’m from the ‘South’ and I know how African Americans feel being oppressed about
living in places like this, where there are not large African Americans populations.” Defendant
Program Manager Barlow then said “Aren’t you ready to leave this place?” “Don’t you feel
oppressed living here? Wouldn’t you feel better living somewhere else, with your own kind?”
After her talk with me, Defendant Program Manager Barlow, began pressuring me almost
weekly about finding another place to live because of my race.
6. I state a claim under Federal Rule Of Civil Procedure(FRCP) Rule 9(b)-Fraud, under 42
U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24 C.F.R. § 100.400(a)(b)(c)(2)(4-6)), 24 C_F.R §
100.600(2)(i)(A)(B)(C)(ii)(c), 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 1982 and 42
U.S.C. § 2000d et Seq: (1) Referring to PLAINTIFF’S EXHIBIT # 2, “DOCUMENTED
DATED ENTRIES” original document, pages | and 2, the first, second and third paragraphs, and
DEFENDANT’S COPY TIPS000024 and TIPS000025 documents, J alleged that Defendant
Program Manager Barlow in her individual and official capacity, conspired to violate my civil
rights because of my race, by committing a fraudulent act, by creating DEFENDANT’S COPY
TIPS000024 and TIPS000025, alleged documents of forgeries, that was meant to deceive, and
conceal Defendant Program Manager Barlow’s direct knowledge that she created the alleged
forged documents from PLAINTIFF’S EXHIBIT # 2” DOCUMENTED ENTRIES” original
document, by re-writing parts of the original October and the October/November2013
documented entries, to make it appear as if I wrote, signed and dated the alleged documents of
forgeries a year later, on 30Novmever2014; (2) I alleged that Defendant Program Manager
Barlow, then used the TIPS000024 and TIPS000025 alleged documents of forgery, in
furtherance of:the-conspiracy-to-falsely, make it-appear as if I made complaints .against -
Defendant Program Manager Barlow, and against former interim Program Manager Gina___,
by fraudulently putting the alleged TIPS000024 and TIPS000025 documents of forgery in my

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Case File, as a cover for the alleged creation of DEFENDANT’S COPY TIPS000141 alleged
document of forgery.

7. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24 C.F.R.
100.400(a)(b)(c)(2)(4-6)), 24 C,F,R, § 100.600(2)(i)(A)(B)(C)ii)(©), 42 U.S.C. § 1985(3), 42
U.S.C. § 1986, 42 U.S.C. § 1982 and 42 U.S.C. § 2000d et seq: I alleged, that in February 2014,
while I was still recovering from injuries sustained at work, still under a doctor’s care, and still
on medical restrictions, etc., that Defendant Program Manager Barlow in her individual and
official capacity, violated my civil rights because of my race, when she tried to coerce me to
move out of Holland House, into a dilapidated, one-room shack rental, that she showed me
pictures of on her office computer, in Holland House, insisting that I move into the available
rental right away. I refused.

8. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24 C.F.R. §
100.400(a)(b)(c)(2)(4-6)), 42 U.S.C. § 2000d et seq, 24 C.F.R. § 100.600(2)(i)(A)(BY(O)GD(C),
42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 1982: I alleged, that Defendant Program
Manager Barlow in her individual and official capacity, conspired to violate my civil rights
because of my race, when she could not coerce me into moving out of Holland House and/or
leave the T.LP.S. Transitional Housing Program on her own, she recruited co-conspirators
Defendant’s T.LP.S. Participants/Holland House residents Bonnie Edgecomb and Michelle Lang,
to help her, to try and force me out of Holland House and/or the T.I.P.S Transitional Housing
Program because of my race, that started from March2014-thru-July2015.

9. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24 C.F.R. §
100.400(a)(b)(c)(2)(4-6)), 24 C.F.R § 100.600(2)()(A)(B)(C)Gi)(©), 42 U.S.C. § 1985(3), 42
U.S.C. § 1986, 42 U.S.C. § 1982 and 42 U.S.C. § 2000d et seq: I alleged that Defendant T.LP.S.
Participant/Holland House resident, Bonnie Edgecomb, conspired to violate my civil rights |
because of my race, from March-thru-May2014, when-she began harassing me, trying to bait me. .
into reacting to her: (1) Saying racially disparaging remarks about me “eating beans and
cornbread” “wearing a rag to cover my nappy hair” and “listening to that black shit(music).” ;

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(2) Harassing me while I was at the stove cooking my food, by standing at the stove staring me
down, not moving until I was finished cooking my food before she then turned around and leave
the kitchen; (3) Standing next to me at the stove while I was cooking my food, and deliberately
reach across in front of me, intentionally letting her shirt sleeve and/or sleeve of her sweater that
she was wearing, dip into my uncovered food, trying to get me to react to her, etc.; (4)I bought a
portable double burner, and a microwave oven to use on my assigned counterspace area, to avoid
being harassed by Defendant Bonnie Edgecomb when cooking at the stove, and whenever
possible, I made an effort to avoid being around her in the kitchen; (5) Defendant Bonnie
Edgecomb, started leaving me accusatory notes of made-up offenses, to bait me into reacting to
her, etc. I complained repeatedly to Defendant Program Manager Barlow, about Defendant
Bonnie Edgecomb harassing me.
10. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(ncluding 24 C.F.R.
100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. § 100.600(2)(i)(AMB)(C)Gi)(C), 42 U.S.C. § 1985(3), 42
U.S.C. § 1986, 42 U.S.C. § 1982 and 42 U.S.C. § 2000d et seq: I alleged that Defendant Bonnie
Edgecomb, conspired to violate my civil rights because of my race, on Thursday 29May2014,
after another incident of harassment involving a note from her. In witness statements given to
me from the T.I.P.S. Trestle Creek Community/Holland House Caretaker couple employees
named Tammy Johnson and her husband Kelly---Tammy Johnson’s witness statement: “Bonnie
said to me, “..I left that note on purpose to piss Jo off. I hope she gets kicked out. I’m so tired of
that little nigger!” Kelly’s witness statement: “I only caught the tail-end of Bonnie talking to
Tammy, but she said the n-word. I knew she was talking about you.” I complained to Defendant
Program Manager Barlow about the harassment from Defendant Bonnie Edgecomb.
11. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24 C.F.R. §
100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. § 100.600(2)(i)(A)(B)(C)Gi)(c), 42 U.S.C. § 1985(3), 42
U.S.C. § 1986, 42 U.S.C. § 2000d et seq, and 28 U.S.C. §.4101(1)(2): [alleged that Defeendant
Bonnie Edgecomb, conspired to violate my civil rights because of my race, when on Friday
30May2014, Defendant Bonnie Edgecomb, verbally attacked me, as she followed me out of the
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kitchen and up-the-stairs to my room, saying to me repeatedly “You have mental problems.
You’re always angry. You don’t belong here. Nobody wants you here. I belong here, I don’t
want you here. You need to leave. You need to go back where you came from.” When I got to
my room door, Defendant Bonnie Edgecomb turns around and goes back downstairs. Three
separate times, during and after the incident, I called Defendant Program Manager Barlow. The

| third and final time I called Defendant Program Manager Barlow, I told her that I wanted to file a
complaint against Defendant Bonnie Edgecomb after what she said to me.

12. Istate a claim under FRCP Rule 9(b)-Fraud, under 42 U.S.C. § 3604(b), 42 U.S.C. §
3617(Including 24 C.F.R. § 100.400((a)(b)(c)(2)(4-6)), 24 C-F.R. §
100.600(2)(i)(A)(B\(C)Gii)(c), 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 1982, 42
U.S.C. § 2000d et seq, and 28 U.S.C. § 4101(1)(2): (1) I alleged that Defendant’s Bonner
Homeless Transition(Formerly T.1.P.S.) Board of Directors, Program Manager Barlow in her
individual and official capacity, Bonnie Edgecomb and Michelle Lang, conspired to violate my
civil rights because of my race, by committing a fraudulent act-Referring to the TIPS000007
document page, the May 2014 and Resolution entries, I am alleging that Defendant Program
Manager Barlow, created the intentional false statements, that was meant to deceive, discredit
and conceal her direct knowledge that the statements are false, by making it appear as if 1
submitted to Defendant Program Manager Barlow, the alleged 6 page complaint against
Defendant’s Bonnie Edgecomb and Michelle Lang in the month of May, and then Defendant
Program Manager Barlow, submitted the alleged 6 page complaint to Defendant T.LP.S. Board
of Directors in the month of May, who then made their decision in the month of May, by offering
me an accommodation in the month of May and that I did not respond to Defendant Board of
Directors decision until December 2014; (2) I alleged that Defendant Program Manager

Barlow, concealed her direct knowledge that the events she falsely stated in the May 2014 and
Resolution entries, actually occurred in the month of June when I submitted to her my Formal
Grievance against Defendant Bonnie Edgecomb on 19June2014, and that the Defendant T.LP.S.
Board of Directors made their decision regarding my Formal Grievance on June 28, 2014-

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PLAINTIFF’S EXHIBIT # 16; (3) I alleged that it was Saturday 22November2014, the day
when I read Defendant Board of Directors President Ambrosaini’s letter of decision for the first
time, and was the same day when I wrote a letter of complaint that I faxed to Defendant Board of
Directors President Ambrosaini on Monday 24November2014 and not in the month of December
2014, as Defendant Program Manager Barlow falsely stated-PLAINTIFF’S EXHIBIT #_** (3)
I alleged that Defendant Program Manager Barlow, concealed her direct knowledge that the
alleged “6 page written complaint against residents Bonnie and Shelley...” are documents of
forgeries, that Defendant Program Manager Barlow created; (4) I alleged that Defendant
Program Manager Barlow, fraudulently created two identical sets of forged 6 page complaint
documents-DEFENDANT’S COPY TIPS000033-thru-TIPS000038, and DEFENDANT’S
COPY TIPS000192-thru-TIPS000197. I alleged that Defendant Program Manager Barlow,
created the forged documents, from my original PLAINTIFF’S EXHIBIT # 2 “DOCUMENTED
ENTRIES” document, that begins with the Saturday 24May2014 entry, starting on pages 8-thru-
12; (5) L alleged that DEFENDANT’S COPY TIPS000192-thru-TIPS000197 forged document,
forged with my name, signature and date 31May2014, is the same alleged 6 page complaint
document, that Defendant Program Manager Barlow, is making direct reference to, in the
TIPS000007 document-the May 2014 entry; (6) Referring to DEFENDANT’S COPY
TIPS000202-thru-TIPS000205 documents, which is my amended Formal Grievance against
Defendant Bonnie Edgecomb, that I signed and dated 19June2014 and submitted to Defendant
Program Manager Barlow, on 19June2014. Referring to the TIPS000202 document page,
located in the “Date submitted to Program Manager” section, | alleged that the “5/24” dated
entry is false, and that Defendant Program Manager Barlow, fraudulently wrote the number 5
over the number 6, to make it appear as if I submitted the alleged 6 page complaint document of
forgery against Defendant’s Bonnie Edgecomb and Michelle Lang on 5/24-in the month of May.
13. I state a claim under FRCP RULE 9(b), under 42 U.S.C. § 3604(b), 42 U.S.C. § —
3617(Including 24 C.F.R. § 100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. § 100.600(2)(i(A)(B)(C)Gi(c),
42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 1982, 42 U.S.C. § 2000d et seq, alleging that
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Defendant Program Manager Barlow in her individual and official capacity, conspired to violate
my civil rights because of my race, by committing a fraudulent act-Referring to the TIPS000007
document page, the June 2014 and Resolution entries, [ am alleging that Defendant Program
Manager Barlow, intentionally made a false statement, that was meant to deceive and conceal her
direct knowledge that the alleged 6-page document of complaint filed against Defendant’s
Bonnie Edgecomb and Michelle Lang in May 2014, is a forgery, when Defendant Program
Manager Barlow, made it appear as if she added the alleged 6 page forged complaint documents
to another complaint, in the month of June, which was actually my amended Formal Grievance
against Defendant Bonnie Edgecomb, that I submitted to Defendant Program Manager Barlow,
on 19June2014. _
14. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(ncluding 24 C.F.R. §
100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. § 100.600(2)()(A)(B)(C)Gi)(c), 42 U.S.C. § 1985(3), 42
U.S.C. § 1986, 42 U.S.C. § 1982, 42 U.S.C. § 2000d et seq and 28 U.S.C. § 4101(1)(2): I
alleged that on Friday 27June2014, Defendant Program Manager Barlow in her individual and
official capacity, conspired to violate my civil rights because of my race, by allegedly taking
away my right to engaged in a protected activity, when I wanted to find out the process for filing
a race discrimination complaint with the Housing Agency. Defendant Program Manager Barlow,
refused to give me the contact information for the Housing Agency, that was not posted on the
bulletin board outside her office in Holland House. Defendant Program Manager Barlow,
threatened to have harassment charges brought against me by former and current Trestle Creek
Community/Holland House residents, if I contacted the Housing Agency, etc. When I
complained that I had a right to the contact information, Defendant Program Manager Barlow,
said that if I contacted the Housing Agency, that the Defendant T.LP.S. Board of Directors
would evict me from the Transitional Housing Program.
15. I state a claim under FRCP Rule 9(b)-Fraud, under 42 U.S.C. § 3604(b), 42 U.S.C. §
3617(Including 24 C.F.R. 100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. § 100.600(2)(i)(A)(B)(C)GiD(C),
42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 1982, 42 U.S.C. 2000d et seq, and 28 U.S.C.
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§ 4101(1)(2): (1) I alleged that Defendant Program Manager Barlow in her individual and
official capacity, conspired to violate my civil rights because of my race, by committing a
fraudulent act by creating DEFENDANT’S COPY TIPS000105 falsified document, that is meant
to deceive and conceal her direct knowledge that the statements in the alleged document is false
and was created as a pretext to cover-up for the retaliation against me when Defendant Program
Manager Barlow, refused to give me the contact information to the Housing Agency, by
threatening to have harassment charges brought against me, and threatened me with eviction by
the T.I.P.S. Board of Directors, if I contacted the Housing Agency, etc. my allegations in which
she falsely stated; (2) Referring to DEFENDANT’S COPY TIPS000171-thru-TIPS000173
which is the Formal Grievance document that I submitted to Defendant Program Manager
Barlow on 04December2014, and located on TIPS000173 document, which is page 3 of the
Formal Grievance, is part # 6 of the “Settlement Desired” section, in which I am asking that
Anti-discrimination posters, etc., be placed on the bulletin board that is located outside next to
the doorway of Defendant’s Program Manager Barlow’s office. (3) I alleged that the next day, on
05December2014, I took a cell phone photo of the Anti-Discrimination poster placed
conspicuously on the bulletin board outside of Defendant’s Program Manager Barlow’s office. I
would never have gone into Defendant Program Manager Barlow’s office, if the Anti-
Discrimination poster, etc. were posted on the bulletin board.
16. I state a claim under 42 U.S.C. § 3604, 42 U.S.C. § 3617(Iincluding 100.400(a)(b)(c)(2)(4-
6)), 24 C.F.R. § 100.600(2)(i)(A)(B)(C)Gi)(c), 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C.
§ 1982, 42 U.S.C. § 2000d et seq: (1) I alleged that after Defendant Bonnie Edgecomb moved
out of Holland House in July2014, into her own nearby apartment, and was no longer a T.L.P.S.
Participant, my civil rights and my right to exercise of full enjoyment and use of the kitchen
facilities, etc., at Holland House, continued to be denied to me because of my race, when
Defendant Program Manager Barlow in her individual and official capacity, conspired to
violated my civil rights because of my race, when she allegedly violated the T.LP.S. policy as
stated in the “T.I.P.S. Transitional Housing Program Guest Handbook” page 5, the “Visitors”

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section states “Guests are allowed visitors between the hours of 10:00 am and 8:00 pm. No
overnight guests are allowed...”; (2) I alleged that from August2014-thru-July2015, former
T.LP.S. Participant Defendant Bonnie Edgecomb, was allegedly encouraged by Defendant
Program Manager Barlow, to stay beyond the 8pm curfew as Defendant Michelle Lang’s guest,
which extended to Defendant Bonnie Edgecomb spending the night with Defendant Michelle
Lang during the week, to staying the entire weekends with her, which gave Defendant Bonnie
Edgecomb opportunities to continue her alleged racially motivated harassment against me, in
spite of complaints from the on-site Caretakes and myself to Defendant Program Manager
Barlow, about Defendant Bonnie Edgecomb being at Holland House allegedly causing trouble,
etc.

17. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(including 24 C.F.R. §
100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. § 100.600(2)(i)(A)(B)(C)Gi)(©), 42 U.S.C. § 1985(3), 42
U.S.C. § 1986, 42 U.S.C. § 1982, 42 U.S.C. § 2000d et seq: I alleged that in
September/October2014, Defendant Bonnie Edgecomb, conspired to violate my civil rights
because of my race, during a visit with Defendant Michelle Lang, when they both came into the
kitchen, Defendant Bonnie Edgecomb makes racially disparaging remarks to Defendant Michelle
Lang about me, loud enough for me to hear through my earbuds, saying “I bet she’s listening to
jungle music...” then Defendant Bonnie Edgecomb start making sounds like a monkey, in front
of me.

18. I state a claim under 42 U.S.C. 3604(b), 42 U.S.C. § 3617(ncluding 24 C.F.R. §
100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. § 100.600(2)()(A)(B)(C)Gi)(c), 42 U.S.C. § 1985(3), 42
U.S.C. § 1986, 42 U.S.C. § 1982, 42 U.S.C. § 2000d et seq: I alleged that from July-thru-
November2014, Defendant Michelle Lang conspired to violate my civil rights because of my
race, when she began harassing me, trying to bait me into reacting to her doing things such as:
(1) On several occasions, leaving large puddles of dishwasher gel on my assigned counterspace
area, watching me clean it up; (2) On Saturday 15November2014, as I was moving toward the
kitchen sink from my assigned counterspace area, Defendant Michelle Lang, comes into the

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kitchen and comes towards me with a hostile expression on her face, her hands balled into fists,
and stops about a foot in front of me. I thought Defendant Michele Lang, was going to hit me,
but she turns around and leaves the kitchen; (3) 20 minutes later, after I prepared my dinner, I
was at the sink washing/rinsing my dishes, listening to music with my earbuds , when Defendant
Michelle Lang, comes up from behind me, and without warning, she’s trying to grab the neck of
the faucet out of my right hand, with one hand, and trying to push my left hand off the hot water
knob with her other hand. Not saying anything to Defendant Michelle Lang, I regained control
of the faucet and hot water knob, then Defendant Michelle Lang leans down and yells in my right
ear “You bitch!!”? She slams the cabinet doors, as she leaves the kitchen. A moment later, I hear
Defendant Michelle Lang, talking to Defendant Bonnie Edgecomb on her cell phone, wanting
her to come over; (4) Upstairs in my room, I call Defendant Program Manager Barlow’s cell
phone number, but she does not answer. I then call the on-site Caretakers residence, and talked
to Caretaker Kelly, telling him what happened, etc. I typed up an incident report of the
harassment and slipped it under Defendant Program Manager Barlow’s office door.
19. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24 C.F.R. §
100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. § 100.600(2))(A)(B)(C)ii)(c), 42 U.S.C. § 1982, 42
U.S.C. § 2000d et seq, 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 28 U.S.C. § 4101(1)(2): (1) I
alleged that on Thursday 20November2014, Defendant Program Manager Barlow in her
individual and official capacity, and Defendant Michelle Lang, conspired to violated my civil
rights because of my race, through defamation, of slander per se, by falsely accusing me of
committing a crime of physical assault, against Defendant Michelle Lang, as leverage against
me, using extortion/coercion in an attempt to force me into leaving the T.I-P.S. Program on my
own, or be arrested for assault and eviction by the T.I.P.S. Board of Directors ; (2) I alleged that
Defendant Program Manager Barlow, said that I threatened, intimidated and physically attacked
Defendant Michelle Lang from the incident that occurred five days earlier on Saturday =
15Novmeber; (3) I alleged that Defendant Program Manager Barlow, told me that Defendant
Michelle Lang will be calling the police to have me arrested, and that she will be filing a

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complaint against me accusing me of attacking her, grabbing her arm, pushing and threatening
her; (4) [alleged that in an attempt to extort/coerce me into leaving the T.I.P.S. Program on my
own, or be arrested, which meant eviction by the T.I.P.S. by the Board of Directors, Defendant
Program Manager Barlow, asked “When are you leaving the program?” When I didn’t answer,
Defendant Program Manager Barlow said “Well, you can expect to be arrested then.” ; (5) I
alleged that I called an out-of-state family member and told him what happened, that I was being
falsely accused of committing the crime of physical assault against another resident by
Defendant Program Manager Barlow, who said that the resident I’m accused of assaulting, will
be calling the police to have me arrested and that she will also file a complaint against me for
assault. The family member told me to go to the police and give a statement because I was being
set-up; (6) I alleged, that on Friday 21November2014, I went to the Bonner county Sheriff's
Department, and believing that I was still going to be.arrested, I voluntarily gave a statement to
Deputy Matt Wallace, about the incidents from Saturday 15November and Thursday
20November2014. I told Deputy Wallace, that Defendant’s Program Manager Barlow and
Michelle Lang, were conspiring against me, to force me out of Holland House because of my
race. (7) Deputy Wallace, advised me to stay away from Defendant Michelle Lang, and not to
have any physical contact with her, and he also recommended that I get a digital voice recorder,
to record any alleged acts of harassment by Defendant’s Bonnie Edgecomb and Michelle Lang,
etc.
20. I state a claim under FRCP Rule9(b)-Fraud, under 42 U.S.C. § 3604(b), 42 U.S.C. §
3617(including 24 C.F.R. § 100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. § 100.600(2)(i)(A)(B)(C)Gi)(C),
42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 1982, 42 U.S.C. § 2000d et seq, and 28
US.C. § 4101910(2): (1) Ialleged that Defendant’s Program Manager Barlow in her individual
and official capacity, and Michelle Lang, conspired to violate my civil rights because of my race,
by committing a fraudulent act of defamation libel per se, by creating defamatory
DEFENDANT’S COPY TIPS000112 and TIPS000113 alleged falsified documents and
DEFENDANT’S COPY TIPS000008 alleged intentional false statements documents, that was
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meant to retaliate, deceive, defame, discredit, vilify character and conceal their knowledge that
the alleged falsified documents and alleged intentional false statements are false; (2) Referring
to the TIPS000112 alleged falsified document, I alleged that Defendant Program Manager
Barlow’s statement is defamation libel per se, because I am being falsely accused of physical
assault, nor did Defendant Program Manager Barlow, ever saw or spoke to me on 11-17-14, as
she falsely stated; (3) I alleged, that Defendant Program Manager Barlow, did not speak to me
about the incident with Defendant Michelle Lang, until three days later on Thursday
20November2014, when I’m accused for the first time by Defendant Program Manager Barlow,
of committing a crime of physically assaulting Defendant Michelle Lang, and that I will arrested,
etc.; (3) Referring to the TIPS000113 alleged falsified document, I alleged that Defendant’s
Program Manager Barlow, and Michelle Lang’s false statement is defamation libel per se,
because I am being falsely accused of committing a crime of physically assaulting Defendant
Michelle Lang; (4) Referring to the TIPS000113 document page, second paragraph, I alleged
that Defendant Michelle Lang, never gave a statement to the police, as she falsely stated; (5) I
alleged, that on Friday 28November2014, I went to the Bonner County Sheriff's Department and
to the Ponderay Police Department, to verify if Defendant Michelle Lang gave a statement to the
police. It was confirmed that Defendant Michelle Lang, did not give a statement to any law
enforcement agency, as she falsely stated; (5) Referring to the TIPS000008 document page, the
first November 2014 and Resolution entries alleged intentional false statements, I alleged that
Defendant Program Manager Barlow’s false statement, is defamation libel per se, because I am
being falsely accused by her of committing a crime of physically assaulting Defendant Michelle
Lang; (6) I alleged that the last November 2014 and Resolution entry by Defendant Program
Manager Barlow is intentionally false, and is meant to deceive, discredit, and conceal Defendant
Program Manager Barlow’s direct knowledge, that I never saw or spoke to her, about filing a

-complaint-with the Bonner Sheriffs Department, with-Deputy-Matt- Wallace, as she-falsely state; —
(7) L alleged that Defendant Program Manager Barlow, got the information from my letter of
complaint dated 22November2014, that I faxed to Defendant Board of Directors President

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Abrosaini, Monday 24November2014-on the last page, second paragraph, I wrote about going to
the Bonner County Sheriff’s Department, and voluntarily gave a statement to Deputy Wallace.
21. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(including 24 C.F.R. §
100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. 100.600(2)()(A)(B)(C)(ii)(c), 42 U.S.C. § 2000d et seq, 42
U.S.C. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 1982: Lalleged that Defendant’s Program
Manager Barlow, in her individual and official capacity, Bonnie Edgecomb and Michelle Lang,
conspired to violate my civil rights because of my race, in their attempts to force me out of
Holland House and/or the T.LP.S. Program. I wrote a letter of complaint, dated
22November2014 and faxed it, to Defendant Board of Directors President Ambrosaini in her
individual and official capacity, on Monday 24November2014, complaining to her about
Defendant’s Program Manager Barlow, Bonnie Edgecomb and Michelle Lang, were conspiring
against me to force me out of Holland House and/or the T.L-P.S. Program because of my race,
etc.
22. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24 C.F.R. §
100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. § 100.600(2)(i)(A)(B)(C)Gi)(c), 42 U.S.C. § 2000d et seq,
42. U.S.C. 1985(3), 42 U.S.C. § 1986: (1) Lalleged that Defendant Bonnie Edgecomb, conspired
to violate my civil rights because of my race, on Wednesday 26November2014, when she
allegedly instigated a similar incident of harassment that occurred between Defendant Michelle
Lang and myself, two weeks earlier on Saturday 15November2014. Defendant Bonnie
Edgecomb, comes into the kitchen, and stands next to me on my right side at the double sink,
and is using a butcher knife to begin cutting the netting off the turkey that was thawing in the
right-side of the double sink. Without warning, Defendant Bonnie Edgecomb, reaches over, and
tried to forcibly pull the neck of the faucet out of my hand, etc. After I regained control,
Defendant Bonnie Edgecomb, with the butcher knife still in her hand, starts brandishing the
_butcher knife_at me in a threatening manner. I called 911. (2) The Sheriff Department Deputies
took statements from Defendant’s Bonnie Edgecomb, Michelle Lang and myself, etc. I called
the on-site Caretakers residence and spoke to Caretaker Kelly, and briefly told him what
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happened, and he told that Defendant Bonnie Edgecomb was staying the night at Holland House
and that Defendant Program Manager Barlow in her individual and official capacity, gave her
permission. I then called Defendant Program Manager Barlow, and briefly told her the situation,
and her only comment was which police department did I give my statement to, other than that,
Defendant Program Manager Barlow, had nothing else to say to me.

23. I state a claim, under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24 C.F.R. §
100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. § 100.600(2)(i)(A)(B)(C)Gii)(c), 42 U.S.C. § 2000d et seq,
42 U.S.C § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 1982: I alleged that Defendant’s Program
Manager Barlow, in her individual and official capacity, Bonnie Edgecomb and Michelle Lang,
conspired to violate my civil rights because of my race, and on 04December2014, I submitted to
Defendant Program Manager Barlow, my Formal Grievance dated 04December2014, against
Defendant’s Program Manager Barlow, Bonnie Edgecomb and Michelle Lang, for submission to
the T.I.P.S. Board of Directors, for racial discrimination, harassment, and conspiracy in their
attempts to force me to leave the T.LP.S Transitional Housing Program because of my race.

24. I state a claim under FRCP Rule 9(b)-Fraud, under 42 U.S.C. § 3604(b), 42 U.S.C. §
3617(Including 24 C.F.R. § 100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. § 100.600(2)(i)(A)(B)O)G(e),
42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 1982, 42 U.S.C. § 2000d et seq, 28 U.S.C. §
4101(1)(2): (1) I alleged that Defendant Program Manager Barlow in her individual and official
capacity, conspired to violate my civil rights because of my race, by committing a fraudulent act,
by creating DEFENDANT’S COPY TIPS000114, TIPS000166, alleged falsified documents;
DEFENDANT’S COPY TIPS000009 alleged intentional false statements document; and
DEFENDANT’S COPY TIPS000023, TIPS000167 and TIPS000168 alleged documents of
forgeries, that was meant to retaliate, deceive, defame, discredit, vilify character, and conceal
Defendant Program Manager Barlow’s direct knowledge that she knew the statements in the
TIPS000114 and TIP000166 alleged falsified documents are false, the TIPS000009 document
intentional false statements to be false, and the TIPS000023, TIPS000167 and TIPS000168
documents are alleged documents of forgeries; (2) Referring to the TIPS000009 document, I

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alleged that the first November2014 and Resolution entries are intentional false statements that is
meant to deceive and conceal Defendant Program Manager Barlow’s direct knowledge that she
is concealing the existence of my 22November2014 letter of complaint that was faxed to
Defendant Board of Directors President Ambrosaini, on Monday 24November2014; (3) I
alleged that in the first November 2014 entry, the letter of complaint that Defendant Program
Manager Barlow, is concealing her direct knowledge that the TIPS000023 document, is an
alleged document of forgery, that she allegedly created to make it appear as if I submitted the
fraudulent fax document to Defendant Board of Directors President Ambrosaini, on
28November2014; (4) I alleged that the Resolution entry by Defendant Program Manager
Barlow, is intentionally false, and was fraudulently created to conceal her direct knowledge that
Defendant Board of Directors President Ambrosaini in her individual and official capacity,
responded to my 22November2014 letter of complaint, with her own letter dated 12-8-14, in the
month of December, that was given to me by Defendant Program Manager Barlow herself, and
not in the month of November as falsely stated by Defendant Program Manager Barlow-
PLAINTIFF’S EXHIBIT # 17; (5) I alleged that Defendant Program Manager Barlow,
concealed her direct knowledge that Defendant Board of Directors President Ambrosaini in her
individual and official capacity, contacted Defendant Program Manager Barlow in the month of
December on December 18", 2014, and not in the month of November, as falsely stated by
Defendant Program Manager Barlow-DEFENDANT’S COPY TIPS000117; (6) Referring to the
TIPS000166 alleged falsified document, I alleged that Defendant’s Program Manager Barlow
and Michelle Lang, created the alleged falsified document that was defamatory libel per se, and
is meant to deceive, retaliate, discredit, defame and conceal their direct knowledge that the
statements are intentionally false, and defamatory; (7) I alleged that the first statement by

Defendant Michelle Lang, is defamatory libel per se, because she is falsely accusing me of

committing the crime of physically assaulting her guests, as is described in the alleged falsified = _

document.
25. I state a claim under FRCP Rule 9(b)-Fraud, under 42 U.S.C. § 3604(b), 42 U.S.C. §
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3617(including 24 C.F.R. § 100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. § 100.600(2)@)(A)(B)(C)Gi)(c),
42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 1982, 42 U.S.C. § 2000d et seq: (1) I
alleged that Defendant Program Manager Barlow in her individual and official capacity,

conspired to violate my civil rights because of my race, by committing a fraudulent act, by
creating DEFENDANT’S COPY TIPS000167 and TIPS000168 alleged documents of forgeries,
that was meant to deceive, and conceal her direct knowledge that she created the alleged forged
documents from the Wednesday 26November2014 documented entry incident found in
PLAINTIFF’S EXHIBIT # 2 “DOCUMENTED ENTRIES” on pages 15, 16 and 17; (2)
Referring to the TIPS000167 alleged forged document, I alleged that on page 1 of the alleged
document of forgery, that Defendant Program Manager Barlow, fraudulently inserted the first ten
lines in the opening paragraph. (3) On page 1, in the second paragraph, I alleged that Defendant
Program Manager Barlow, then fraudulently removed and inserted the first three-four lines from
the original documented entry on page 16; (4) I alleged that scattered throughout the fraudulent
document, words have been either added or removed allegedly by Defendant Program Manager
Barlow; (5) Referring to the TIPS000168 alleged document of forgery, I alleged that Defendant
Program Manager Barlow, fraudulently removed the last seven lines, in the bottom portion of the
second paragraph that is found on pages 16 and on page 17 in the original documented entry; (6)
I alleged that Defendant Program Manager Barlow, then fraudulently forged my name, signature
and forged date, to make it appear as if I wrote, signed and dated the alleged forged document on
03December2014.

26. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24 C.F.R.
100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. § 100.600(2)(i)(A)(B)(C)Gi)(c), 42 U.S.C. § 1985(3),42
U.S.C. § 1986, 42 U.S.C. § 1982, 42 U.S.C. § 2000d et seq: I alleged that Defendant Program
Manager Barlow in her individual and official capacity, conspired to violate my civil rights
because of my race: (1) Referring to DEFENDANT’S COPY TIPS 000117 document dated _
December 18", 2014, I alleged that Defendant Program Manager Barlow, gave me this
document, informing me that Defendant Board of Directors President Ambrosaini,in her

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individual and official capacity, scheduled a meeting for Monday 224° December 2014; (2) I
alleged, that I told Defendant Program Manager Barlow, that I wanted a Legal Aide
representative present at the meeting on my behalf, Defendant Program Manager Barlow
objected, saying that she will have to talk with Defendant Board of Directors President
Ambrosaini, about it. Defendant’s Board of Directors President Ambrosaini, and Program
Manager Barlow cancelled the meeting.
27. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24 C.F.R. §
100.400(a)(b)(c)(2)(4-6), 24 C.F.R. § 100.600(2)(i)(A\B)(C)Gi)(©), 442 U.S.C. § 1982, 2 U.S.C.
§ 2000d et seq, 42 U.S.C. § 1985(3), 42 U.S.C. § 1986 and 28 U.S.C. § 4101(1)(2); (1) Lalleged
that on Saturday 20December2014, I filed an online race and housing discrimination complaint
with the HUD Housing Agency, for violations of my civil rights because of my race by
Defendant’s Program Manager Barlow, in her individual and official capacity, Bonnie
Edgecomb and Michelle Lang; (2) I alleged that on 05January2015, I faxed a race and housing
discrimination complaint to the Idaho Human Rights Commission(I.H.R.C.), for violations of my
civil rights because of my race by Defendant’s Program Manager Barlow, Bonnie Edgecomb and
Michelle Lang.
28. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24 C.F.R. §
100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. § 24 C.F.R. § 100.600(2)(i)(A)(BY CGC), 42 U.S.C. §
1982, 42 U.S.C. § 2000d et seq, 42 U.S.C. § 1985(3) and 42 U.S.C. § 1986; (1) I alleged that on
04December2014, I submitted to Defendant Program Manager Barlow in her individual and
official capacity, my Formal Grievance that I signed and dated on 03December2014, against
Defendant’s Program Manager Barlow, Bonnie Edgecomb, and Michelle Lang, for violating my
civil rights because of my race; (2) I alleged that Defendant’s Program Manager Barlow,
Bonnie Edgecomb and Michelle Lang, continued to violate my civil rights in retaliation, after I
LH.R.C., and the submission of the 03December2014 Formal Grievance that I made against
Defendant’s Program Manager Barlow, Bonnie Edgecomb and Michelle Lang; (3) I alleged that
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and for the Caretakers as well as the residents to not talk to me and stay away from me.
33. I state a claim under FRCP Rule 9(b)-Fraud, under 42 U.S.C. § 3604(b), 42 U.S.C. §
3617(Including 24 C.F.R. § 100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. § 100.600(2))(A)(B)(C)Gi)(c),
42 U.S.C. § 1982, 42 U.S.C. § 2000d et seq, 42 U.S.C. § 1985(3), 42 U.S.C. § 1986: (1) I
alleged that Defendant Board of Directors President Ambrosaini, in her individual and official
capacity, and Defendant Program Manager Barlow, in her individual and official capacity,
conspired to violate my civil rights because race, by committing a fraudulent act, as a pretext to
cover-up, her retaliating against me for contacting the I.H.R.C. to complain about Defendant
Program Manager Barlow giving me photocopies of a racially discriminatory housing rental: (2)
Referring to the LH.R.C. Decision Document, page 4, third paragraph, the statement by |
Defendant Board of Directors President Ambrosaini, states: “...Ms. Barlow was very concerned
for Complainant’s ability to find permanent housing with no income.” (3) I alleged, that the
statement by Defendant Board of Directors President Ambrosaini, is meant to deceive and
conceal hers and Defendant Program Manager Barlow’s direct knowledge, that the statement is
intentionally false; (4) I alleged that Defendant’s Board of Directors President Ambrosaini, and
Program Manager Barlow, have direct knowledge, that I began receiving temporary SSI
Disability Benefits income payments in September/ October2014, and began receiving monthly
SSD Benefits income payments that began in October/November2014, and that I continued
receiving the monthly SSD Benefits income payments throughout the remaining months of my
participation in the T.J.P.S. Transitional Housing Program, that ended on 08July2014, to afford
permanent residential housing with full amenities.
34. I state a claim under FRCP Rule 9(b)-Fraud, under 42 U.S.C. § 3604(b), 42 U.S.C. §
3617(Including 24 C.F.R. § 100.600(a)(b)(c)(2)(4-6)), 24 C.F.R. § 100.600(2)(i)(A)(B)(C)Gi)(C),
42 U.S.C. § 2000d et seq, 42 U.S.C. § 1985(3), and 42 U.S.C. § 1986, 42 U.S.C. § 1982: I
alleged that Defendant Board of Directors President Ambrosaini in her individual and official
capacity, conspired to violate my civil rights because of my race, when she committeda
fraudulent act: (1) Referring to the I.H.R.C. Decision Document, page 4, fifth paragraph, the

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HOUSING DISCRIMINATION
COUNT II: DEFAMATION
1. I state a claim respectfully, that I am suing under 42 U.S.C. §
3613(a(1)(A)(B)(2))(b(1)(2))(c(1)) of the Fair Housing Act; under 42 U.S.C. § 1981(a)(b), 42
U.S.C. § 1982, 42 U.S.C. § 2000d et seq, 42 U.S.C. § 1985(3), and 42 U.S.C. § 1986, of the
Civil Rights Act; Requesting a jury trial against Defendant Board of Directors of the Bonner
Homeless Transitions(Formerly T.I.P.S.) Transitional Housing Program, Defendant Mary Jo
Ambrosaini, in her individual and official capacity as the Board of Directors President of the
Bonner Homeless Transitions(Formerly T.I.P.S.), and as the Board of Directors President of the
Bonner County Homeless Task Force, Defendant Joanne Barlow, in her individual and official
capacity as the Program Manager for the Bonner Homeless Transitions(Formerly T.IP.S.), and
as the Program Manager for the Bonner County Homeless Task Force, Defendants and Former
Bonner Homeless Transitions(T.LP.S.) Participants Bonnie Edgecomb and Michelle Lang, under
42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 24 C.F.R. § 100.7(a)(i)Gi)(iii)(b); For Defamation under
28 U.S.C. § 4101(1)(2), by conspiracy under 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, Hostile
Housing Environment under 24 C.F.R. § 100.600(2)(i)(A)(B)(C)Gii)(c), by Defendants Joanne
Barlow, Bonnie Edgecomb and Michelle Lang because of race; For violations of my Civil Rights
under 42 U.S.C. §1981(a)(b), 42 U.S.C. § 1982, 42 U.S.C. § 2000d et seq, and 42 U.S.C. §
1985(3), 42 U.S.C. § 1986, of the Civil Rights Act; under 42 U.S.C. § 3604(b), 42 U.S.C. §
3617(Including 24 C.F.R. § 100.400((a)(b)(c)(2)(4-6)), 24 C.F-R. §
100.600(2)(i)(A)(B)(C)(ii)(c), of the Fair Housing Act; Alleging that the Defendants, conspired
to violate my Civil Rights through defamation by creating intentional false statements,
defamatory falsified documents and documents of forgeries, for the purpose of defamation,
discrediting and vilifying character, in retaliation, because I complained of race and housing
discrimination; Based on Race: Black/African American. _ ee

In support of the above stated claim, I offer the following facts, with attached supporting
documents of evidence FRCP Rule 9(b)-Fraud, under FRE Rule 401(a)(b), Rule 901(a)(b), Rule

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property, pressuring residents to stay away from me because I am a threatening, intimidating,
volatile, angry person, that I physically assaulted people, that I harass people, I have a mental
illness, I am crazy, with a mental disease, etc.
4. I state a claim under FRCP Rule 9(b)-Fraud, under 28 U.S.C. § 4101(1)(2), 42 U.S.C. §
3604(b), 42 U.S.C. § 3617 (Including 24 C.F.R. § 100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. §
100.600(2)(i)(A)(B)(C)(ii)(c), 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 1982, 42
U.S.C. § 2000d et seq: (1) I alleged that Defendant’s Program Manager Barlow, in her
individual and official capacity, and Michelle Lang, conspired to violate my civil rights because
of my race, by committing a fraudulent act of defamation libel per se, by creating
DEFENDANT’S COPY TIPS000112 alleged falsified document, fraudulently dated Nov. 17,
2014, and is falsely accusing me of committing a crime of physically assaulting Defendant
Michelle Lang, three days before Defendant Program Manager Barlow, actually talked to me;
(2) L alleged that the second paragraph Defendant Program Manager Barlow’s statement is
intentionally false, and is defamatory libel per se, and is meant to deceive and conceal her direct
knowledge that she never saw or spoke to me on 11-17-14, as Defendant Program Manager
Barlow falsely stated.
5. [state a claim under 28 U.S.C. § 4101(1)(2), 42 U.S.C. § 3604(b), 42 U.S.C. §
3617(Including 24 C.F.R. § 100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. § 100.600(2)(i)(A)(B)(C)(ii)(c),
42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 1982, 42 U.S.C. § 2000d et seq: (1) I
alleged that Defendant Program Manager Barlow, in her individual and official capacity, and
Defendant Michelle Lang, conspired to violate my civil rights because of my race, by defamation
slander per se; (2) I alleged that on Thursday 20November2014, Defendant Program Manager
Barlow, falsely accused me of committing the crime of physically assaulting Defendant
Michelle Lang, using extortion/coercion in an attempt to try and force me into leaving the
T.LP.S. Transitional Housing Program on my own, or be arrested and evicted by the T.I.P.S.
Board of Directors.
6. I state a claim under FRCP Rule 9(b)-Fraud, under 28 U.S.C. § 4101(1)(2), 42 U.S.C. §
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3604(b), 42 U.S.C. § 3617(including 24 C.F.R. § 100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. §
100.600(2)()(A)(B)(C)(ii)(C), 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 1982, 42
U.S.C. § 2000d et seq; (1) I alleged that Defendant Program Manager Barlow, in her individual
and official capacity, and Defendant Michelle Lang, conspired to violate my civil rights because
of my race, by committing a fraudulent act of defamation, when they allegedly created
DEFENDANT’S COPY TIPS000113 alleged falsified document, that is meant to deceive,
defame, retaliate, discredit, and conceal their direct knowledge that Defendant’s Program
Manager Barlow and Michelle Lang, knew the alleged falsified document to be false and
defamatory libel per se, when they falsely accused me of committing a crime of physically
assaulting Michelle Lang; (2) I alleged that Defendant Michelle Lang, statement that she went
to the Police Department is false; (3) I alleged that on Friday 28November2014, I went to the
Ponderay Police Department, and to the Bonner County Sheriff’s Department, and was told at
both law enforcement agencies that there are no statements on file from Defendant Michelle
Lang, regarding the alleged incident of harassment on Saturday 15November2014;

7. I state a claim under FRCP Rule 9(b)-Fraud, under 28U.S.C. § 4101(1)(2), 42 U.S.C. §
3604(b), 42 U.S.C. § 3617(including 24 C.F.R. § 100.400(a)(b)(c)(2)(4-6)), 24 C.F.R. § 100.600
(2)G)(A)(B)(C)Gi)(c), 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 1982, 42 U.S.C. §
2000d et seq: (1) I alleged that Defendant Program Manager Barlow, in her individual and
official capacity, and Defendant Michelle Lang, conspired to violate my civil rights because of
my race, by committing a fraudulent act of defamation, when they allegedly created
DEFENDANT’S COPY TIPS000166 alleged falsified document dated Nov. 28, 2014, that is
meant to deceive, defame, retaliate, discredit, and conceal their direct knowledge that they knew
the alleged falsified document to be false and defamatory libel per se; (2) I alleged, that the first
paragraph in the alleged falsified document written by Defendant Michelle Lang, is defamation
libel per se, and concealed her direct knowledge that she knew the statement to be false, when
Defendant Michelle Lang falsely accused me of committing a crime of physical assault, against

her guests.
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